Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 1 of 43 Page ID #:15




                        EXHIBIT A




                        EXHIBIT A
Electronically FILED by Superior Court of California, County of Los Angeles on 12/18/2020 01:32 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Mariano,Deputy Clerk
                             Case 8:21-cv-00423 Document 1-320STCV31672
                                                               Filed 03/05/21 Page 2 of 43 Page ID #:16
                                                                                                                                                                           SUM-100
                                                         SUMMONS                                                                               FOR COURT USE ONLY
                                                                                                                                           (SOLO PARA USO DE LA CORTE)
                                               (CITACION JUDICIAL)
           NOTICE TO DEFENDANT:
           (AVISO AL DEMANDADO):



           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTÁ DEMANDANDO EL DEMANDANTE):




            NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
            the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
            may be taken without further warning from the court.
                There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
            (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
            ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
            continuación.
               Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
            corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
            en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
            Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
            biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
            que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
            podrá quitar su sueldo, dinero y bienes sin más advertencia.
              Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
            remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
            programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
            (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
            colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
            cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
            pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

          The name and address of the court is:                                                                               CASE NUMBER:
          (El nombre y dirección de la corte es):           Stanley Mosk Courthouse                                           (Número del Caso):

                                                                                                                                 20STCV31672

          The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
          (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
           Jihad M. Smaili, Esq., 600 W Santa Ana Blvd., Ste. 202, Santa Ana, CA 92701; 714-547-4700

          DATE:                                                                Clerk, by                                                                                    , Deputy
          (Fecha)                                                              (Secretario)                                                                                  (Adjunto)
          (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
          (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                            NOTICE TO THE PERSON SERVED: You are served
           [SEAL]
                                            1.      as an individual defendant.
                                            2.      as the person sued under the fictitious name of (specify):


                                                    3.         on behalf of (specify):

                                                         under:           CCP 416.10 (corporation)                                      CCP 416.60 (minor)
                                                                          CCP 416.20 (defunct corporation)                              CCP 416.70 (conservatee)
                                                                          CCP 416.40 (association or partnership)                       CCP 416.90 (authorized person)
                                                                       other (specify):
                                                    4.         by personal delivery on (date):
                                                                                                                                                                               Page 1 of 1
            Form Adopted for Mandatory Use
              Judicial Council of California
                                                                                        SUMMONS                                                      Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                                       www.courtinfo.ca.gov
              SUM-100 [Rev. July 1, 2009]
Electronically FILED by Superior Court of California, County of Los Angeles on 08/20/2020 01:43 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                                           Case 8:21-cv-00423 Document 1-320STCV31672
                                                                             Filed 03/05/21 Page 3 of 43 Page ID #:17
                                                    Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Susan Bryant-Deason




                                        Jihad M. Smaili, Esq. [262219]
                                    1
                                        SMAILI & ASSOCIATES, PC
                                    2   Civic Center Plaza Towers
                                        600 W. Santa Ana Blvd., Suite 202
                                    3   Santa Ana, California 92701
                                        714-547-4700
                                    4
                                        714-547-4710 (facsimile)
                                    5   jihad@smaililaw.com

                                    6   Attorneys for Plaintiff
                                    7
                                    8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                    9                                 FOR THE COUNTY OF LOS ANGELES
                                   10
                                        STEPHEN HERNAEZ, an individual;      ) Case No.:
                                   11                                        ) Assigned for all purposes to the
                                                    Plaintiff,               )
                                   12                                        )
       Smaili & Associates, P.C.




                                   13         v.                             ) COMPLAINT:
                                                                             )    1. Age Discrimination in Violation of Gov.
                                   14   AMSPEC, LLC, a corporate entity form )        Code §12940 et seq.
                                        unknown; and DOES 1-50, inclusive,   )    2. Failure to Prevent Discrimination in
                                   15                                        )        Violation of Gov. Code § 12940(k)
                                   16               Defendants.              )    3. Failure To Pay Minimum Wages And
                                                                             )        Overtime Wages
                                   17                                        )    4. Wrongful Termination
                                                                             )    5. Violation of Business & Professions Code
                                   18
                                                                             )        § 17200 et seq.
                                   19                                        )
                                                                                         DEMAND FOR JURY TRIAL
                                                                             )
                                   20                                                    UNLIMITED JURISDICTION
                                                                             )
                                                                             )
                                   21
                                                                             )
                                   22                                        )
                                                                             )
                                   23                                        )
                                                                             )
                                   24
                                                                             )
                                   25                                        )
                                                                             )
                                   26                                        )
                                   27
                                   28

                                                                                            COMPLAINT

                                                                                                   1
                                    Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 4 of 43 Page ID #:18




                             1   Plaintiff Stephen Hernaez (hereinafter “Plaintiff” and/or “Hernaez”) alleges as follows:
                             2                                         THE PARTIES
                             3          1.     At all times mentioned herein, and at the time the causes of action arose,
                             4   Plaintiff was and is an individual.
                             5          2.     Plaintiff is informed and believes and thereon alleges that at all times
                             6   mentioned herein, Defendant Amspec, LLC (“Amspec”), is a corporate entity, form
                             7   unknown, regularly conducting business in the State of California, and specifically, in the
                             8   County of Orange. Plaintiff is further informed and believes and thereon alleges that The
                             9   Amspec was transacting business in the County of Orange, State of California, at the time
                            10   claims of Plaintiff arose. At all times relevant, Amspec was an employer within the
                            11   meaning of Government Code §12926(d) and as such was barred from, inter alia,
                            12   harassing, discriminating or retaliating against Plaintiff in personnel, scheduling,
Smaili & Associates, P.C.




                            13   employment, promotion, advancement, retention, hiring, terminating and other decisions
                            14   relating to Plaintiff’s employment on the basis of age, race, physical disability or medical
                            15   condition, participation in protected activity, and other immutable characteristics.
                            16          3.     The true names and capacities, whether individual, corporate, associate, or
                            17   otherwise, of Defendants DOES 1—50, inclusive, are currently unknown to Plaintiff,
                            18   who therefore sues said Defendants by such fictitious names. Plaintiff will seek leave to
                            19   amend this complaint to show their true names and capacities when ascertained. Plaintiff
                            20   is informed and believes and thereon alleges that each Defendant named herein as a DOE
                            21   was responsible in some manner for the occurrences and damages alleged herein.
                            22          4.     Each reference in this complaint to “Defendant” and/or “Defendants” refers
                            23   to Amspec and also refers to all Defendants sued under fictitious names, jointly and
                            24   severally.
                            25          5.     Plaintiff is informed and believes and thereon alleges that Defendants, and
                            26   each of them, are now and/or at all times mentioned in this Complaint were in some
                            27   manner legally responsible for the events, happenings and circumstances alleged in this
                            28   Complaint.     Plaintiff is further informed and believes and thereon alleges that

                                                                         COMPLAINT

                                                                              2
                                       Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 5 of 43 Page ID #:19




                             1   Defendants, and each of them, proximately subjected Plaintiff to the unlawful practices,
                             2   wrongs, complaints, injuries and/or damages alleged in this Complaint.          Likewise,
                             3   Defendants, and each of them are now and/or at all times mentioned in this Complaint
                             4   were the agents, servants and/or employees of some or all other Defendants, and vice-
                             5   versa, and in doing the things alleged in this Complaint, Defendants are now and/or at all
                             6   times mentioned in this Complaint were acting within the course and scope of that
                             7   agency, servitude and/or employment.
                             8            6.    Plaintiff is informed and believes and thereon alleges that Defendants, and
                             9   each of them, are now and/or at all times mentioned in this Complaint were members of
                            10   and/or engaged in a joint venture, partnership and common enterprise, and were acting
                            11   within the course and scope of, and in pursuance of said joint venture, partnership and
                            12   common enterprise.
Smaili & Associates, P.C.




                            13             7.   Plaintiff is informed and believes and thereon alleges that Defendants, and
                            14   each of them, at all times mentioned in this Complaint, concurred and contributed to the
                            15   various acts and omissions of each and every one of the other Defendants in proximately
                            16   causing the complaints, injures and/or damages alleged in this Complaint. Plaintiff is
                            17   further informed and believes and thereon alleges that Defendants, and each of them, at
                            18   all times mentioned in this Complaint, approved of condoned and/or otherwise ratified
                            19   each and every one of the acts and/or omissions alleged in this Complaint. Likewise,
                            20   Defendants, and each of them, at all times mentioned in this Complaint aided and abetted
                            21   the acts and omissions of each and every one of the other Defendants thereby proximately
                            22   causing the damages alleged in this Complaint.
                            23             8.   Plaintiff is informed and believes and thereon alleges that at all actions
                            24   alleged herein committed by Defendants were committed by managing agents of
                            25   Defendants, or, such conduct was known by and/or ratified by managing agents of
                            26   Defendants.
                            27   ///
                            28   ///

                                                                         COMPLAINT

                                                                              3
                                    Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 6 of 43 Page ID #:20




                             1                               VENUE AND JURISDICTION
                             2          9.     Venue is proper in this county and this Court has jurisdiction over this
                             3   matter because Defendants operate out of Signal Hill, California, and, all of the claims
                             4   and causes of action alleged herein occurred and accrued in the County of Los Angeles,
                             5   State of California.
                             6                              FACTUAL BACKGROUND
                                        10.    On or about August 18, 2014, Plaintiff was hired by Defendant as an
                             7
                                 operations manager. On or about May 21, 2018, Plaintiff was promoted to branch
                             8
                                 manager. Plaintiff’s job duties included, but were not limited to, managing day-to-day
                             9
                                 operations at the industrial, oil and petroleum company’s Los Angeles branch and
                            10
                                 dispatching. Plaintiff was paid $120,000 annually.
                            11
                                        11.    On or about January 25, 2019, Plaintiff took a scheduled vacation. Plaintiff
                            12
Smaili & Associates, P.C.




                                 returned to work on or about February 18, 2019 and was assigned to perform
                            13
                                 “reorganization” duties with three new younger managers hired while he was on
                            14
                                 vacation.
                            15
                                        12.    On or about February 19, 2019, Plaintiff was instructed to vacate his office
                            16
                                 so it can be used by younger employees. On the same day, Plaintiff was tasked with
                            17
                                 dispatching per Defendant’s rotation schedule, which required him to work around-the-
                            18
                                 clock (24 hours a day and 7 days a week). Plaintiff was not paid overtime.
                            19
                                        13.    On or about February 26, 2019, Plaintiff was forced to leave work early
                            20
                                 when he became ill. Plaintiff utilized accrued sick time. On or about February 27,
                            21
                                 Plaintiff rushed to urgent care because he continued to feel ill and was vomiting. On that
                            22
                                 day, Defendant attempted to contact Plaintiff but he did not answer due to his illness.
                            23
                                        14.    On or about February 28, 2019, Plaintiff was terminated. He received
                            24
                                 several text messages and emails instructing him to come to work and return his company
                            25
                                 cellphone and laptop and receive his last paycheck. Later, his company cellphone was
                            26
                                 shut off and his email account was closed.
                            27
                                        15.    Plaintiff is informed and believes that he was terminated, in part, on the
                            28
                                 basis of his age and for calling out sick and using sick leave in accordance with
                                                                         COMPLAINT

                                                                              4
                                    Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 7 of 43 Page ID #:21




                             1
                                 California Sick Leave Laws. Plaintiff was 52 years old when he was terminated. Plaintiff
                                 is informed and believes that he was replaced by someone much younger than him.
                             2
                                        16.     On or about March 1, 2019, Plaintiff returned to work and turned over his
                             3
                                 company laptop and cellphone. Subsequently, Plaintiff was given a termination letter and
                             4
                                 his last paycheck.
                             5
                                        17.     Before filing this lawsuit, his exhausted his administrative remedies by
                             6
                                 timely filing a complaint with the Department of Fair Employment and Housing (DFEH)
                             7
                                 and receiving a right-to-sue notice, dated August 29, 2019.
                             8
                             9                                  FIRST CAUSE OF ACTION
                            10                                   AGE DISCRIMINATION
                            11                     IN VIOLATION OF GOV. CODE § 12940 ET SEQ.
                            12                                    (Against all Defendants)
Smaili & Associates, P.C.




                            13          18.     Plaintiff refers to all allegations contained in paragraphs 1-17, inclusive and
                            14   by such reference incorporates the same herein as though fully realleged in detail.
                            15          19.     At all times herein mentioned, Gov’t Code §§12940(a) and 12941 were in

                            16   full force and effect and were binding on Defendant. These sections require Defendant to

                            17   refrain from discriminating against any employee over the age of 40 because of their age.

                            18          20.     At the time of Plaintiff’s injury and at the time of Plaintiff’s termination,

                            19   and at all times that Defendant was discriminating against Plaintiff as alleged herein,

                            20   Plaintiff was over the age of 40. Plaintiff is informed and believes and thereon alleges

                            21   that after years of wholly satisfactory, competent and diligent performance to the profit of

                            22   Defendants, that Plaintiff’s age, being over 40, was a motivating factor in Defendants’

                            23   decision to terminate Plaintiff’s employment. Said conduct by Defendants was intentional

                            24   and willful.

                            25          21.     Plaintiff is informed and believes and thereon alleges that Plaintiff was

                            26   replaced with an employee below the age of 40.

                            27          22.     Defendant was aware of Plaintiff’s age, as herein alleged, because Plaintiff

                            28   maintained Plaintiff’s personnel file which specifically contained the date of Plaintiff’s

                                                                          COMPLAINT

                                                                               5
                                    Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 8 of 43 Page ID #:22




                             1   birth and his corresponding age.
                             2          23.     At all times herein alleged, Plaintiff was qualified for the position of
                             3   employment that he held with Defendant and was able to perform the essential functions
                             4   of that job.
                             5          24.     Plaintiff is informed and believes and thereon alleges that as a direct and
                             6   proximate result of Plaintiff’s age, Defendant decided to terminate Plaintiff’s
                             7   employment, and in fact, did terminate Plaintiff’s employment.
                             8          25.     Defendants’ discriminatory action against Plaintiff, as alleged above,
                             9   constitutes unlawful discrimination in employment on account of Plaintiff’s age in
                            10   violation of FEHA, and particularly Gov’t Code §12940.
                            11          26.     As a direct, foreseeable, and proximate result of Defendants’ discriminatory
                            12   action against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
Smaili & Associates, P.C.




                            13   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
                            14   amounts of money Plaintiff would have received but for Defendant’s discriminatory
                            15   conduct, all in an amount subject to proof at the time of trial.
                            16          27.     As a direct, foreseeable, and proximate result of the wrongful conduct of
                            17   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
                            18   distress and anguish, humiliation, anxiety, and medical expenses all to his damage in an
                            19   amount subject to proof at trial.
                            20          28.     Plaintiff is informed and believes and thereon alleges that the above-alleged
                            21   actions of Defendant were the result and consequence of Defendant’s failure to supervise,
                            22   control, direct, manage, and counsel those agents throughout Plaintiff’s employment and
                            23   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
                            24   enabled agents to believe that their conduct was appropriate.
                            25          29.     Defendants, and each of them, failed to offer counseling or comfort to
                            26   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
                            27   workplace.
                            28          30.     Plaintiff is informed and believes and thereon alleges that Defendant has a

                                                                          COMPLAINT

                                                                               6
                                    Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 9 of 43 Page ID #:23




                             1   systemic and wide-spread policy of discriminating against and retaliating against
                             2   employees over the age of 40. By failing to stop the discrimination, harassment and
                             3   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
                             4   directly caused a vicious cycle of wrongful conduct with impunity.
                             5          31.     The outrageous conduct of Defendant, and each of them was done with
                             6   oppression and malice by Defendant and its supervisors and managers, along with
                             7   conscious disregard of Plaintiff’s rights, and were ratified by those other individuals who
                             8   were managing agents of Defendant.
                             9          32.     Plaintiff also continues to incur attorneys’ fees and legal expenses in an
                            10   amount according to proof at the time of trial which fees and expenses are recoverable
                            11   pursuant to Gov’t Code §12900 et seq.
                            12                                SECOND CAUSE OF ACTION
Smaili & Associates, P.C.




                            13                FAILURE TO PREVENT DISCRIMINATION IN VIOLATION
                            14                   OF CALIFORNIA GOVERNMENT CODE § 12940(k)
                            15                                    (Against All Defendants)
                            16          33.     Plaintiff refers to all allegations contained in paragraphs 1-32, inclusive and
                            17   by such reference incorporates the same herein as though fully realleged in detail.
                            18          34.     During the course of employment, Defendant, and each of them, failed to
                            19   prevent or remedy discrimination toward Plaintiff on the basis of his age.
                            20          35.     As a direct result of the wrongful conduct of Defendant, Plaintiff suffered,
                            21   and continues to suffer, substantial losses in earnings and other benefits in an amount
                            22   according to proof at the time trial, including special and general damages.
                            23          36.     As a direct, foreseeable, and proximate result of the wrongful conduct of
                            24   Defendant, Plaintiff has suffered and continues to suffer emotional distress and anguish,
                            25   humiliation, substantial losses in salary, bonuses, job benefits, and other employment
                            26   benefits which he would have received all to his damage in a sum within the jurisdiction
                            27   of the Court to be ascertained according to proof.
                            28          37.     Plaintiff is informed and believes and thereon alleges that the outrageous

                                                                          COMPLAINT

                                                                               7
                                   Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 10 of 43 Page ID #:24




                             1   conduct of Defendant, and each of them, as alleged herein, was done with oppression and
                             2   malice by Plaintiff’s supervisors and managers, along with conscious disregard of
                             3   Plaintiff’s rights, and were ratified by those other individuals who were managing agents
                             4   of Defendant.
                             5          38.      As a proximate result of the wrongful conduct of Defendant, and each of
                             6   them, Plaintiff has suffered and continues to suffer humiliation, emotional distress, and
                             7   mental and physical pain and anguish according to proof at the time of trial.
                             8          39.      These unlawful acts were further encouraged by Defendant and done with a
                             9   conscious disregard for Plaintiff’s rights and with the intent, design, and purpose of
                            10   injuring Plaintiff.   The conduct of Defendant alleged hereinabove was done with malice,
                            11   fraud or oppression, and in reckless disregard of Plaintiff’s rights under California law.
                            12   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
Smaili & Associates, P.C.




                            13          40.      Plaintiff has also incurred and continues to incur attorneys’ fees and legal
                            14   expenses in an amount according to proof at the time of trial.
                            15                                  THIRD CAUSE OF ACTION
                            16           FAILURE TO PAY MINIMUM WAGES AND OVERTIME WAGES
                            17                                     (Against all Defendants)
                            18          41.      Plaintiff refers to all allegations contained in paragraphs 1-40, inclusive,
                            19   and by such reference incorporates the same herein as though fully realleged in detail.
                            20          42.      Labor Code §204 establishes the fundamental right of all employees in the
                            21   State of California to be paid wages in a timely fashion for their work, including
                            22   overtime.
                            23          43.      Labor Code §1194 states in pertinent part, “Notwithstanding any agreement
                            24   to work for a lesser wage, any employee receiving less than the legal minimum wage or
                            25   the legal overtime compensation applicable to the employee is entitled to recover in a
                            26   civil action the unpaid balance of the full amount of this minimum wage or overtime
                            27   compensation, including interest thereon, reasonable attorney’s fees, and costs of suit.
                            28          44.      Labor Code §510(a) states in pertinent part: “Any work in excess of eight

                                                                          COMPLAINT

                                                                               8
                                   Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 11 of 43 Page ID #:25




                             1   hours in one workday and any work in excess of 40 hours in any one workweek ... shall
                             2   be compensated at the rate of no less than one and one-half times the regular rate of pay
                             3   for any employee.”
                             4            45.    Pursuant to Labor Code §1198, it is unlawful to employ persons for longer
                             5   than the hours set by the Industrial Welfare Commission or under conditions prohibited
                             6   by the IWC Wage Order(s).
                             7            46.    Defendants, as a matter of established policy and procedure, at each and
                             8   every one of the offices owned and/or operated by Defendants at which Plaintiff
                             9   performed work, consistently;
                            10                   a)     Administered a uniform policy and practice as to the pay policies
                            11            regarding Plaintiff;
                            12                   b)     Scheduled to work and in fact required Plaintiff to work in excess of
Smaili & Associates, P.C.




                            13            eight (8) hours per workday and/or in excess of forty (40) hours per workweek
                            14            without paying overtime compensation for all hours Plaintiff was under
                            15            Defendants’ control;
                            16                   c)     Failed to pay Plaintiff overtime compensation for all work
                            17            accomplished in excess of eight (8) hours per day and/or forty (40) hours per
                            18            week; and
                            19                   d)     Failed to pay Plaintiff the full rate of compensation promised and
                            20            contracted.
                            21            47.    Defendants’ pattern, practice and uniform administration of policy
                            22   regarding illegal employee compensation as described herein is unlawful and creates an
                            23   entitlement, pursuant to Labor Code §218 and Labor Code §1194, to recovery, in a civil
                            24   action, for the unpaid balance of the full amount of the wages and overtime premiums
                            25   owing.
                            26            48.    Pursuant to Labor Code §218.6, Labor Code §1194(a) and Civil Code
                            27   §3287, Plaintiff seeks recovery of pre-judgment interest on all amounts recovered herein.
                            28            49.    Pursuant to Labor Code §1194, Plaintiff requests that the Court award

                                                                          COMPLAINT

                                                                               9
                                   Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 12 of 43 Page ID #:26




                             1   reasonable attorneys’ fees and costs incurred by him in this action pursuant to statute.
                             2          50.    Pursuant to the California Supreme Court’s holding in Cortez v. Purolator
                             3   Air Filtration Products Co. (2000) 23 Cal.4th 163, Plaintiff is entitled to extend the
                             4   statutory period to four years in conjunction with Plaintiff’s claim for violation of Bus. &
                             5   Prof. Code §17200 et seq.
                             6                               FOURTH CAUSE OF ACTION
                             7                                  WRONGFUL TERMINATION
                             8                                     (Against All Defendants)
                             9          51.    Plaintiff refers to all allegations contained in paragraphs 1-50, inclusive and
                            10   by such reference incorporates the same herein as though fully realleged in detail.
                            11          52.    Plaintiff informed Defendants that he suffered from disabilities. Further,
                            12   Defendants were aware of Plaintiff’s requests for accommodation and complaints about
Smaili & Associates, P.C.




                            13   his workplace environment. Defendants were also aware that Plaintiff filed a worker’s
                            14   compensation claim and sought medical treatment pursuant to the same.
                            15          53.    Gov’t Code §12940 et seq., prohibits forms of discrimination against
                            16   protected classes of employees.
                            17          54.    Labor Code §246.5 prohibits an employer from discharging an employee
                            18   for using accrued sick days.
                            19          55.    Defendant terminated Plaintiff in violation of a substantial and fundamental
                            20   public policy in that a determining and motivating factor in Defendants’ decision to
                            21   terminate Plaintiff was the desire to retaliate against him because: (i) he was over the age
                            22   of 40 and (ii) called out using accrued sick leave.
                            23          56.    Plaintiff is informed and believes and thereon alleges that these factors
                            24   made up Defendants decision to terminate Plaintiff and/or played an important and
                            25   integral role in said decision. Such discrimination was in violation of the public policy of
                            26   the State of California and resulted in damage and injury to Plaintiff as alleged herein.
                            27          57.    As a proximate result of Defendants willful, knowing, and intentional
                            28   discrimination and retaliation against Plaintiff, he has sustained and continues to sustain

                                                                         COMPLAINT

                                                                              10
                                   Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 13 of 43 Page ID #:27




                             1   substantial losses in Plaintiff earnings and other employment benefits and continues to
                             2   suffer humiliation, emotional distress, and mental and physical pain an and anguish, and
                             3   loss of sleep/sleep dysfunction, all to his damage in a sum according to proof.
                             4          58.    In light of Defendants willful, knowing, and intentional discrimination
                             5   against Plaintiff which resulted in his wrongful termination, Plaintiff seeks an award of
                             6   punitive and exemplary damages in an amount according to proof.
                             7                                 FIFTH CAUSE OF ACTION
                             8        VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200 ET SEQ.
                             9                                   (Against All Defendants)
                            10          59.    Plaintiff refers to all allegations contained in paragraphs 1-58, inclusive,
                            11   and by such reference incorporates the same herein as though fully realleged in detail.
                            12          60.    Defendant, and each of them, have engaged in unfair and unlawful
Smaili & Associates, P.C.




                            13   business practices as set forth above.
                            14          61.    Business & Professions Code § 17200 et seq. prohibits unlawful and unfair
                            15   business practices.
                            16          62.    By engaging in the above-described acts and practices, Defendant, and each
                            17   of them, have committed one or more acts of unfair, unlawful or fraudulent competition
                            18   within the meaning of Business & Professions Code §17200 et seq.
                            19          63.    Defendant, and each of them, have violated statutes and public policies.
                            20   Through the conduct alleged in this Complaint, Defendant, and each of them, have acted
                            21   contrary to public policies and have engaged in other unlawful and unfair business
                            22   practices in violation of Business & Professions Code § 17200 et seq., depriving Plaintiff
                            23   and all interested persons of rights, benefits, and privileges guaranteed to all employees
                            24   under law.
                            25          64.    As a direct and proximate result of the aforementioned acts and practices,
                            26   Plaintiff has suffered a loss of money and property in the form of wages and benefits that
                            27   he would have received as an employee of Defendant, and each of them.
                            28          65.    Plaintiff seeks an order of this Court awarding restitution, injunctive relief

                                                                          COMPLAINT

                                                                             11
                                   Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 14 of 43 Page ID #:28




                             1   and all other relief allowed under Business & Professions Code §17200 et seq., plus
                             2   interest and costs.
                             3
                             4                                  PRAYER FOR RELIEF
                             5   WHEREFORE, Plaintiff prays for judgment as follows:
                             6     1. For all actual, consequential, and incidental damages, including but not limited to
                             7          loss of earnings and employee benefits, according to proof, but no less than three
                             8          hundred thousand dollars;
                             9     2. For restitution for unfair competition pursuant to Business & Professions Code
                            10          §17200 et seq., resulting from Defendants’ unlawful business acts and practices,
                            11          according to proof;
                            12     3. For pre-judgment and post-judgment interest, according to proof;
Smaili & Associates, P.C.




                            13     4. For punitive and exemplary damages, according to proof;
                            14     5. For attorneys’ fees, according to proof and statute;
                            15     6. For costs of suit incurred herein;
                            16     7. For such other relief and the Court may deem just and proper.
                            17
                            18   Dated: August 20, 2020                    SMAILI & ASSOCIATES, P.C.
                            19
                            20                                             By: _/s/ Jihad M. Smaili_____________
                            21                                                 Jihad M. Smaili, Esq.
                                                                               Attorneys for Plaintiff
                            22
                            23
                            24
                            25
                            26
                            27
                            28

                                                                        COMPLAINT

                                                                             12
                                   Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 15 of 43 Page ID #:29




                             1                                DEMAND FOR JURY TRIAL
                             2         Plaintiff hereby requests a trial by jury.
                             3
                                 Dated: August 20, 2020                     SMAILI & ASSOCIATES, P.C.
                             4
                             5
                             6                                              By: _/s/ Jihad M. Smaili_____________
                                                                                Jihad M. Smaili, Esq.
                             7                                                  Attorneys for Plaintiff
                             8
                             9
                            10
                            11
                            12
Smaili & Associates, P.C.




                            13
                            14
                            15
                            16
                            17
                            18
                            19
                            20
                            21
                            22
                            23
                            24
                            25
                            26
                            27
                            28

                                                                         COMPLAINT

                                                                              13
Electronically FILED by Superior Court of California, County of Los Angeles on 08/20/2020 01:43 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                            Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 16 of 43 Page ID #:30
                                                                                       20STCV31672
                                                                                                                                                                                    CM-010
            ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                              FOR COURT USE ONLY




                    TELEPHONE NO.:                                          FAX NO.:
             ATTORNEY FOR (Name):
           SUPERIOR COURT OF CALIFORNIA, COUNTY OF
                   STREET ADDRESS:
                  MAILING ADDRESS:
                  CITY AND ZIP CODE:

                      BRANCH NAME:
                CASE NAME:
                Hernaez v. Amspec, LLC
                                                                                                                                 CASE NUMBER:
                  CIVIL CASE COVER SHEET                                        Complex Case Designation
                    Unlimited         Limited
                    (Amount           (Amount                     Counter              Joinder
                                                                                                    JUDGE:
                    demanded          demanded is          Filed with first appearance by defendant
                    exceeds $25,000)  $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:

                                         Items 1–6 below must be completed (see instructions on page 2).
           1. Check one box below for the case type that best describes this case:
                 Auto Tort                                              Contract                                        Provisionally Complex Civil Litigation
                        Auto (22)                                               Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400–3.403)
                        Uninsured motorist (46)                                 Rule 3.740 collections (09)                     Antitrust/Trade regulation (03)
                 Other PI/PD/WD (Personal Injury/Property                       Other collections (09)                          Construction defect (10)
                 Damage/Wrongful Death) Tort                                    Insurance coverage (18)                         Mass tort (40)
                       Asbestos (04)                                          Other contract (37)                               Securities litigation (28)
                        Product liability (24)                          Real Property                                           Environmental/Toxic tort (30)
                        Medical malpractice (45)                              Eminent domain/Inverse                            Insurance coverage claims arising from the
                        Other PI/PD/WD (23)                                   condemnation (14)                                 above listed provisionally complex case
                                                                              Wrongful eviction (33)                            types (41)
                 Non-PI/PD/WD (Other) Tort
                        Business tort/unfair business practice (07)      Other real property (26)                       Enforcement of Judgment
                        Civil rights (08)                           Unlawful Detainer                                           Enforcement of judgment (20)
                        Defamation (13)                                  Commercial (31)                                Miscellaneous Civil Complaint
                        Fraud (16)                                              Residential (32)                                RICO (27)
                        Intellectual property (19)                              Drugs (38)                                      Other complaint (not specified above) (42)
                        Professional negligence (25)                    Judicial Review                                 Miscellaneous Civil Petition
                      Other non-PI/PD/WD tort (35)                            Asset forfeiture (05)
                                                                                                                                Partnership and corporate governance (21)
                 Employment                                                     Petition re: arbitration award (11)
                                                                                                                                Other petition (not specified above) (43)
                      Wrongful termination (36)                                 Writ of mandate (02)
                        Other employment (15)                                   Other judicial review (39)
           2. This case         is           is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
              factors requiring exceptional judicial management:
              a.       Large number of separately represented parties        d.      Large number of witnesses
              b.       Extensive motion practice raising difficult or novel  e.      Coordination with related actions pending in one or more courts
                       issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
              c.       Substantial amount of documentary evidence            f.      Substantial postjudgment judicial supervision

           3.    Remedies sought (check all that apply): a.       monetary b.          nonmonetary; declaratory or injunctive relief                                   c.         punitive
           4.    Number of causes of action (specify): Five (5)
           5.    This case         is         is not a class action suit.
           6.    If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
          Date: 08/20/2020
          Jihad M. Smaili, Esq.                                                                            /s/Jihad M. Smaili
                                              (TYPE OR PRINT NAME)                                                     (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                           NOTICE
             • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                 under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                 in sanctions.
             •   File this cover sheet in addition to any cover sheet required by local court rule.
             •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                 other parties to the action or proceeding.
             •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                    Page 1 of 2
                                                                                                                                     Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
           Form Adopted for Mandatory Use
             Judicial Council of California
                                                                        CIVIL CASE COVER SHEET                                               Cal. Standards of Judicial Administration, std. 3.10
              CM-010 [Rev. July 1, 2007]                                                                                                                                   www.courtinfo.ca.gov
                 Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 17 of 43 Page ID #:31
                                                                                                                                       CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                           Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                       Contract/Warranty Breach–Seller                Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                                Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                           Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                        book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                        Collection Case–Seller Plaintiff                   Abstract of Judgment (Out of
                                                          Other Promissory Note/Collections                        County)
          Asbestos Personal Injury/
                Wrongful Death                                Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or              Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                       complex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                             Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice–                            Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                  Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                               Other Contract Dispute                             Other Enforcement of Judgment
                                                 Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip             Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                 Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                          Declaratory Relief Only
                                                          Writ of Possession of Real Property                Injunctive Relief Only (non-
                Emotional Distress                        Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                         Quiet Title
                Emotional Distress                                                                           Mechanics Lien
                                                          Other Real Property (not eminent
          Other PI/PD/WD                                                                                     Other Commercial Complaint
                                                          domain, landlord/tenant, or
                                                                                                                   Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                 foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer
                                                                                                                  (non-tort/non-complex)
         Practice (07)                               Commercial (31)
                                                                                                     Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                                drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                    report as Commercial or Residential)               above) (43)
           (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                          Abuse
         Legal Malpractice                                Writ–Administrative Mandamus                       Election Contest
         Other Professional Malpractice                   Writ–Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                          Case Matter                                    Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                        Writ–Other Limited Court Case                            Claim
Employment                                                    Review                                         Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal–Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                              Page 2 of 2
                                                     CIVIL CASE COVER SHEET
                  Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 18 of 43 Page ID #:32
 SHORT TITLE:                                                                                             CASE NUMBER




                               CIVIL CASE COVER SHEET ADDENDUM AND
                                       STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.



      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

      Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C )

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.         7. Location where petitioner resides.
2. Permissive filing in central district.                                                8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                 9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                  10. Location of Labor Commissioner Office.
                                                                                        11. Mandatory filing location (Hub Cases – unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                        non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                 A                                                             B                                                        C
                     Civil Case Cover Sheet                                             Type of Action                                          Applicable Reasons -
                           Category No.                                                (Check only one)                                          See Step 3 Above

                             Auto (22)                   A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death               1, 4, 11

                     Uninsured Motorist (46)             A7110 Personal Injury/Property Damage/Wrongful Death – Uninsured Motorist          1, 4, 11


                                                         A6070 Asbestos Property Damage                                                     1, 11
                          Asbestos (04)
                                                         A7221 Asbestos - Personal Injury/Wrongful Death                                    1, 11

                       Product Liability (24)            A7260 Product Liability (not asbestos or toxic/environmental)                      1, 4, 11

                                                         A7210 Medical Malpractice - Physicians & Surgeons                                  1, 4, 11
                    Medical Malpractice (45)
                                                         A7240 Other Professional Health Care Malpractice                                   1, 4, 11


                                                         A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                            1, 4, 11
                         Other Personal
                         Injury Property                 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                            1, 4, 11
                        Damage Wrongful                        assault, vandalism, etc.)
                           Death (23)                                                                                                       1, 4, 11
                                                         A7270 Intentional Infliction of Emotional Distress
                                                                                                                                            1, 4, 11
                                                         A7220 Other Personal Injury/Property Damage/Wrongful Death




   LASC CIV 109 Rev. 12/18
                                                   CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.3

   For Mandatory Use
                                                      AND STATEMENT OF LOCATION                                                             Page 1 of 4
               Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 19 of 43 Page ID #:33
SHORT TITLE:                                                                                  CASE NUMBER




                            A                                                        B                                               C Applicable
                  Civil Case Cover Sheet                                        Type of Action                                    Reasons - See Step 3
                        Category No.                                           (Check only one)                                         Above

                    Business Tort (07)           A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3

                     Civil Rights (08)           A6005 Civil Rights/Discrimination                                                1, 2, 3

                     Defamation (13)             A6010 Defamation (slander/libel)                                                 1, 2, 3

                        Fraud (16)               A6013 Fraud (no contract)                                                        1, 2, 3

                                                 A6017 Legal Malpractice                                                          1, 2, 3
               Professional Negligence (25)
                                                 A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3

                        Other (35)               A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3

                Wrongful Termination (36)        A6037 Wrongful Termination                                                       1, 2, 3

                                                 A6024 Other Employment Complaint Case                                            1, 2, 3
                  Other Employment (15)
                                                 A6109 Labor Commissioner Appeals                                                 10

                                                 A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                  2, 5
                                                       eviction)
               Breach of Contract/ Warranty                                                                                       2, 5
                           (06)                  A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                     (not insurance)                                                                                              1, 2, 5
                                                 A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                  1, 2, 5
                                                 A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                                                 A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                     Collections (09)
                                                 A6012 Other Promissory Note/Collections Case                                     5, 11
                                                 A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                       Purchased on or after January 1, 2014)

                 Insurance Coverage (18)         A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8

                                                 A6009 Contractual Fraud                                                          1, 2, 3, 5
                   Other Contract (37)           A6031 Tortious Interference                                                      1, 2, 3, 5
                                                 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

                 Eminent Domain/Inverse
                                                 A7300 Eminent Domain/Condemnation                Number of parcels               2, 6
                   Condemnation (14)

                  Wrongful Eviction (33)         A6023 Wrongful Eviction Case                                                     2, 6

                                                 A6018 Mortgage Foreclosure                                                       2, 6
                 Other Real Property (26)        A6032 Quiet Title                                                                2, 6
                                                 A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

               Unlawful Detainer-Commercial
                                                 A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6, 11
                           (31)

               Unlawful Detainer-Residential
                                                 A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
                           (32)
                   Unlawful Detainer-
                                                 A6020F Unlawful Detainer-Post-Foreclosure                                        2, 6, 11
                  Post-Foreclosure (34)

               Unlawful Detainer-Drugs (38)      A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



                                               CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                  AND STATEMENT OF LOCATION                                                       Page 2 of 4
 For Mandatory Use
                Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 20 of 43 Page ID #:34
SHORT TITLE:                                                                                   CASE NUMBER




                              A                                                        B                                 C Applicable
                   Civil Case Cover Sheet                                        Type of Action                       Reasons - See Step 3
                         Category No.                                           (Check only one)                            Above

                    Asset Forfeiture (05)          A6108 Asset Forfeiture Case                                        2, 3, 6

                 Petition re Arbitration (11)      A6115 Petition to Compel/Confirm/Vacate Arbitration                2, 5

                                                   A6151 Writ - Administrative Mandamus                               2, 8
                    Writ of Mandate (02)           A6152 Writ - Mandamus on Limited Court Case Matter                 2
                                                   A6153 Writ - Other Limited Court Case Review                       2

                 Other Judicial Review (39)        A6150 Other Writ /Judicial Review                                  2, 8

               Antitrust/Trade Regulation (03)     A6003 Antitrust/Trade Regulation                                   1, 2, 8

                  Construction Defect (10)         A6007 Construction Defect                                          1, 2, 3

                 Claims Involving Mass Tort
                                                   A6006 Claims Involving Mass Tort                                   1, 2, 8
                            (40)

                  Securities Litigation (28)       A6035 Securities Litigation Case                                   1, 2, 8

                         Toxic Tort
                                                   A6036 Toxic Tort/Environmental                                     1, 2, 3, 8
                     Environmental (30)

                Insurance Coverage Claims
                                                   A6014 Insurance Coverage/Subrogation (complex case only)           1, 2, 5, 8
                  from Complex Case (41)

                                                   A6141 Sister State Judgment                                        2, 5, 11
                                                   A6160 Abstract of Judgment                                         2, 6

                        Enforcement                A6107 Confession of Judgment (non-domestic relations)              2, 9
                      of Judgment (20)             A6140 Administrative Agency Award (not unpaid taxes)               2, 8
                                                   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2, 8
                                                   A6112 Other Enforcement of Judgment Case                           2, 8, 9

                         RICO (27)                 A6033 Racketeering (RICO) Case                                     1, 2, 8

                                                   A6030 Declaratory Relief Only                                      1, 2, 8

                     Other Complaints              A6040 Injunctive Relief Only (not domestic/harassment)             2, 8
                 (Not Specified Above) (42)        A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2, 8
                                                   A6000 Other Civil Complaint (non-tort/non-complex)                 1, 2, 8

                  Partnership Corporation
                                                   A6113 Partnership and Corporate Governance Case                    2, 8
                     Governance (21)

                                                   A6121 Civil Harassment With Damages                                2, 3, 9
                                                   A6123 Workplace Harassment With Damages                            2, 3, 9
                                                   A6124 Elder/Dependent Adult Abuse Case With Damages                2, 3, 9
                    Other Petitions (Not
                   Specified Above) (43)           A6190 Election Contest                                             2
                                                   A6110 Petition for Change of Name/Change of Gender                 2, 7
                                                   A6170 Petition for Relief from Late Claim Law                      2, 3, 8
                                                   A6100 Other Civil Petition                                         2, 9




                                                 CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                    AND STATEMENT OF LOCATION                                         Page 3 of 4
 For Mandatory Use
                     Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 21 of 43 Page ID #:35
 SHORT TITLE:                                                                         CASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                      ADDRESS:
   REASON:

       1.       2.    3.   4.   5.   6.   7.   8.   9.   10.    11.



   CITY:                                       STATE:     ZIP CODE:




Step 5: Certification of Assignment: I certify that this case is properly filed in the                                  District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated:                                                                           /s/Jihad M. Smaili
                                                                                  (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




                                               CIVIL CASE COVER SHEET ADDENDUM                                        Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                                  AND STATEMENT OF LOCATION                                              Page 4 of 4
  For Mandatory Use
            Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 22 of 43 Page ID #:36
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 20STCV31672

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Susan Bryant-Deason                52




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       08/20/2020
    on _____________________________                                        R. Perez
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
             Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 23 of 43 Page ID #:37
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
     Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 24 of 43 Page ID #:38
                                                                                                      2019-GEN-0I4-00


                                                                                         FILED
                                                                                  Superior Court of California
 1                                                                                   County of Los Angeles


 2                                                                                      MAY 01 2019
                                                                           Sherrl R^Carter, Encotirc Offleei/Clerk
 3
                                                                            By.                     ss—.Dtpoty
 4                                                                                        iindaMlua


 5
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                    FOR THE COUNTY OF LOS ANGELES
 7


 8   EN RE LOS ANGELES SUPERIOR COURT )                  FIRST AMENDED GENERAL ORDER
     - MANDATORY ELECTRONIC FILING                   )
 9   FOR CIVIL                                       )
10
                                                     )
                                                     )
11

12           On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los

14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex

15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)

16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the

17   following:

18   1) DEFINITIONS

19      a)   "Bookmark"      A bookmark is a PDF document navigational tool that allows the reader to

20           quickly locate and navigate to a designated point of interest within a document.

21      b) "Efiling Portal"     The official court website includes a webpage, referred to as the efiling

22           portal, that gives litigants access to the approved Electronic Filing Service Providers.

23      c)   "Electronic Envelope" A transaction through the electronic service provider for submission

24           of documents to the Court for processing which may contain one or more PDF documents

25           attached.

26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a

27           document in electronic form. (California Rules of Court, rule 2.250(b)(7).)

28


                                                             1
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 25 of 43 Page ID #:39
                                                                                                2019-GEN-014-00




 1     e)   ''Electronic Filing Service Provider"     An Electronic Filing Service Provider (EFSP) is a

 2          person or entity that receives an electronic filing from a party for retransmission to the Court.

 3          In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an

 4          agent of the Court. (California Rules of Court, rule 2.250(b)(8).)

 5     f)   "Electronic Signature"     For purposes of these local rules and in conformity with Code of

 6          Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision

 7          (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule

 8          2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or

 9          process attached to or logically associated with an electronic record and executed or adopted

10          by a person with the intent to sign the electronic record.

11     g) "Hyperlink" An electronic link providing direct access from one distinctively marked place

12          in a hypertext or hypermedia document to another in the same or different document.

13     h) "Portable Document Format"           A digital document format that preserves all fonts,

14          formatting, colors and graphics of the original source document, regardless of the application

15          platform used.

16   2) MANDATORY ELECTRONIC FILING

17     a)   Trial Court Records

18          Pursuant to Government Code section 68150, trial court records may be created, maintained,

19          and preserved in electronic format. Any document that the Court receives electronically must

20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an

21          official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).

22     b) Represented Litigants

23          Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to

24          electronically file documents with the Court through an approved EFSP.

25     c)   Public Notice

26          The Court has issued a Public Notice with effective dates the Court required parties to

27          electronically file documents through one or more approved EFSPs. Public Notices containing

28          effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.

                                                       2
                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 26 of 43 Page ID #:40
                                                                                                   20 19-GEN-0 14-00




 1        d) Documents in Related Cases

 2             Documents in related cases must be electronically filed in the eFiling portal for that case type if

 3             electronic filing has been implemented in that case type, regardless of whether the case has

4              been related to a Civil case.

 5   3) EXEMPT LITIGANTS

 6        a)   Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt

 7             from mandatory electronic filing requirements.

 8        b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of

 9             Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused

10             from filing documents electronically and be permitted to file documents by conventional

11             means if the party shows undue hardship or significant prejudice.

12   4) EXEMPT FILINGS

13        a) The following documents shall not be filed electronically:

14             i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of

15                    Civil Procedure sections 170.6 or 170.3;

16             ii)    Bonds/Undertaking documents;

17             iii)   Trial and Evidentiary Hearing Exhibits

18             iv)    Any ex parte application that is filed concurrently with a new complaint including those

19                    that will be handled by a Writs and Receivers department in the Mosk courthouse; and

20             v)     Documents submitted conditionally under seal. The actual motion or application shall be

21                    electronically filed. A courtesy copy of the electronically filed motion or application to

22                    submit documents conditionally under seal must be provided with the documents

23                    submitted conditionally under seal.

24        b) Lodgments

25             Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in

26   paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.

27   //

28   //

                                                           2
                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 27 of 43 Page ID #:41
                                                                                                2019-GEN-0I4-00




 1   5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES

 2     Electronic filing service providers must obtain and manage registration information for persons

 3     and entities electronically filing with the court.

 4   6) TECHNICAL REQUIREMENTS

 5     a) Electronic documents must be electronically filed in PDF, text searchable format when

 6          technologically feasible without impairment of the document's image.

 7     b) The table of contents for any filing must be bookmarked.

 8     c) Electronic documents, including but not limited to, declarations, proofs of service, and

 9          exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule

10          3.1 1 10(f)(4). Electronic bookmarks must include links to the first page of each bookmarked

11          item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the

12          bookedmarked item and briefly describe the item.

13     d) Attachments to primary documents must be bookmarked. Examples include, but are not

14          limited to, the following:

15          i)     Depositions;

16          ii)    Declarations;

17          iii)   Exhibits (including exhibits to declarations);

18          iv)    Transcripts (including excerpts within transcripts);

19          v)     Points and Authorities;

20          vi)    Citations; and

21          vii)   Supporting Briefs.

22     e)   Use of hyperlinks within documents (including attachments and exhibits) is strongly

23          encouraged.

24     f)   Accompanying Documents

25          Each document acompanying a single pleading must be electronically filed as a separate

26          digital PDF document.

27     g) Multiple Documents

28          Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                              4
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 28 of 43 Page ID #:42
                                                                                                  2019-GEN-014-00




 1     h) Writs and Abstracts

2           Writs and Abstracts must be submitted as a separate electronic envelope.

3      i)   Sealed Documents

4           If and when a judicial officer orders documents to be filed under seal, those documents must be

5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating

6           the documents as sealed at the time of electronic submission is the submitting party's

 7          responsibility,

 8     j)   Redaction

 9          Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to

10          redact confidential information (such as using initials for names of minors, using the last four

11          digits of a social security number, and using the year for date of birth) so that the information

12          shall not be publicly displayed.

13   7) ELECTRONIC FILING SCHEDULE

14     a)   Filed Date

15          i)   Any document received electronically by the court between 12:00 am and 1 1 :59:59 pm

16               shall be deemed to have been effectively filed on that court day if accepted for filing. Any

17               document received electronically on a non-court day, is deemed to have been effectively

18               filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code

19               Civ. Proc. § 1010.6(b)(3).)

20          ii) Notwithstanding any other provision of this order, if a digital document is not filed in due

21               course because of: (1) an interruption in service; (2) a transmission error that is not the

22               fault of the transmitter, or (3) a processing failure that occurs after receipt, the Court may

23               order, either on its own motion or by noticed motion submitted with a declaration for Court

24               consideration, that the document be deemed filed and/or that the document's filing date

25               conform to the attempted transmission date.

26   8) EX PARTE APPLICATIONS

27     a)   Ex parte applications and all documents in support thereof must be electronically filed no later

28          than 10:00 a.m. the court day before the ex parte hearing.


                                                              1
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 29 of 43 Page ID #:43
                                                                                                   2019-GEN-014-00




 1     b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the

2                day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte

3                application must be provided to the court the day of the ex parte hearing.

4    9) PRINTED COURTESY COPIES

5      a)        For any filing electronically filed two or fewer days before the hearing, a courtesy copy must

 6               be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If

7                the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom

 8               by 10:00 a.m. the next business day.

 9         b)    Regardless of the time of electronic filing, a printed courtesy copy (along with proof of

10               electronic submission) is required for the following documents:

11                i)   Any printed document required pursuant to a Standing or General Order;

12               ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26

13                     pages or more;


14              iii)   Pleadings and motions that include points and authorities;

15              iv)    Demurrers;

16               v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;

17              vi)    Motions for Summary Judgment/Adjudication ; and

18              vii)   Motions to Compel Further Discovery.

19         c)    Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of

20               additional documents. Courtroom specific courtesy copy guidelines can be found at

21               www.lacourt.org on the Civil webpage under "Courtroom Information."

22   1 0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS

23         a)    Fees and costs associated with electronic filing must be waived for any litigant who has

24               received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §

25     .          1010.6(d)(2).)

26         b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure

27                section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be

28                electronically filed in any authorized action or proceeding.


                                                                  L
                            FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 30 of 43 Page ID #:44
                                                                                                2019-GEN-0I4-00




 1   1) SIGNATURES ON ELECTRONIC FILING

2       For purposes of this General Order, all electronic filings must be in compliance with California

3       Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil

4       Division of the Los Angeles County Superior Court.

 5

6           This First Amended General Order supersedes any previous order related to electronic filing,

7    and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

8    Supervising Judge and/or Presiding Judge.

9

10   DATED: May 3, 2019          /&               &
                                                          KEVIN C. BRAZBLE
a

12
                                 i%                m
                                                   %
                                                          Presiding Judge



13                                wrlP
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                             7
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 31 of 43 Page ID #:45




                                   VOLUNTARY EFFICIENT LITIGATION STIPULATIONS




       #
      SmjKMtar Court of eaiBwwIs
             of Lbs Angata
                                       The Early Organizational Meeting Stipulation, Discovery

                                   Resolution Stipulation, and Motions In Limine Stipulation are

                                   voluntary stipulations entered into by the parties. The parties

                                   may enter Into one, two, or all three of the stipulations;

       "i                          however, they may not alter the stipulations as written,
   til


                                   because the Court wants to ensure uniformity of application.
                    wUg
                                   These stipulations are meant to encourage cooperation
   Utfgotten teeMon

   Loo Angtkt County               between the parties and to assist in resolving Issues in a
   Bar AneelaUon Labor and
   EmptyflMmf Law Bactlon          manner that promotes economic case resolution and judicial

                                   efficiency.
      0|T
       II ||         -a a

                                       The    following    organizations         endorse     the    goal   of
  CamuiMr Momsys
  AaaoeMoe of lot AitgafBB
                                   promoting      efficiency   in   litigation   and   ask   that   counsel
                                   consider using these stipulations as a voluntary way to

                                   promote communications and procedures among counsel
  f
  I               m                and with the court to fairly resolve issues in their cases.
                     I

  i                                Los Angelas County Bar Association Litigation Section#
  wESBl
  MbmCsWiMta
  Msom Ceunaal

                                              O Los Angeles County Bar Association

                                                 Labor and Employment Law Section#
            i
  Asmettmof
  BwtassTrtal Law^sis
                                      Consumer Attorneys Association of Los Angeles#


                                             Southern California Defense Counsel#
            s


            & ^
                                             Association of Business Trial Lawyers#

 Ctffcmis EtapfojnaoiU
 ism/mo AuatUdon
                                       California Employment Lawyers Association#


      LAGIV230(NEVV)
      LASC Ajpwwd 4*11
      For Optional Uie
Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 32 of 43 Page ID #:46




        AUS&Sag g£ anm&tr OTTMnywhwt? Afie&s&y
                                                                                                ^eaasesag 8» £te4> a 9   tew




           TEUPHDNCMO:                               FAX WO. |0«toM»F
 5-MA4. ADORESS ICpSimst):
 —
                                      -          -
                                                                            -


 SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES
 EBOImouKTWiili

re35wpT

SSFEMJAMT:



                                                                                        cSstHaSillF
                    STIPULATION - DISCOVERY RESOLUTION


      This stipulation Is intended to provide a fast and informal resolution of discovery
                                                                                          Issues
      through limited paperwork and an informal conference with the Court to aid in
                                                                                             the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
           the moving party first makes a written request for an informal Discovery Conference pursuant
           to the terms of this stipulation.


      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein wiR preclude
                                                                                                     a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or In writing.

     3. Following a reasonable and good faith attempt at art informal resolution of each Issue to
                                                                                                  be
          presented, a party may request an informal Discovery Conference pursuant to the following
          procedures:


               a. The party requesting the Informal Discovery Conference wilt:

                    i.      File a Request for Informal Discovery Conference with the clerk's office on the
                            approved form (copy attached) and deliver a courtesy, conformed copy to the
                            assigned department,

                   SI       include a brief summary of the dispute and specify the relief requested; and

                ill         Serve the opposing party pursuant to any authorized or agreed method of service
                            that ensures that the opposing party receives the Request for Informal Discovery
                            Conference no later than the next court day following the fling.

              b.         Any Answer to a Request for Informal Discovery Conference must:


                    I.      Also be lied on the approved form (copy attached);

                   il.      Include a brief summary of why the requested relief should be denied;
     LACTV 036 (mmr) "
     LASC Appmvadovtl                 STIPULATION - DISCOVERY RESOLUTION
     For Optional Use
                                                                                                                     Page I of 3
Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 33 of 43 Page ID #:47




   «mc^» «»is:                                                                   €&.%% Kjmtn




                                                                                                                   J

                  111.   Be filed within two (2) court days of receipt of the Request; and

                  Iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                         method of service thai ensures that the opposing party receives the Answer no
                         later than the next court day following the filing.

         c.      No other pleadings, including but not limited to exhibits, declarations, or attachments, wilt
                 be accepted.

         d.      If the Court has not granted or denied the Request for Informal Discovery Conference
                 within ten (10) days following the fling of the Request, then it shall be deemed to have
                 been denied. If the Court acts on the Request, the parties will be notified whether the
                 Request for informal Discovery Conference has been granted or denied and. If granted,
                 the date and time of the Informal Discovery Conference, which must be within twenty (20)
                 days of the filing of the Request for Informal Discovery Conference.

         e.      If the conference Is not held within twenty (20) days of the filing of the Request for
                 Informal Discovery Conference, unless extended by agreement of the parties and the
                 Court, then the Request for the Informal Discovery Conference shall be deemed to have
                 been denied at that time.

   4.   if (a) the Court has denied a conference or (b) one of the time deadlines above has expired
        without the Court having acted or (c) the Informal Discovery Conference is concluded without
        resolving the dispute, then a party may file a discovery motion to address unresolved issues.

   5. The parties hereby further agree that the time for making a motion to compel or other
        discovery motion is tolled from the date of filing of toe Request for Informal Discovery
        Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
        filing of the Request for Informal Discovery Conference, whichever Is earlier, unless extended
        by Order of the Court.


        ft fs the understanding and Intent of the parties that this stipulation shall, for each discovery
        dispute to which it applies, constitute a writing memorializing a "specific later date to which
        the propounding [or demanding or requesting} party and the responding party have agreed in
        writing," within toe meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
        2033.290(c).

   6.   Nothing herein witi preclude any party from applying ex parte for appropriate relief, including
        an order shortening time for a motion to be heard concerning discovery.

   7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
        terminate the stipulation.

   8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
      any act pursuant to this stipulation faffs on a Saturday, Sunday or Court holiday, then the time
        for performing that act shall be extended to the next Court day




  LACtV 038 (ctsw)
  LASC Approved mm                 STIPULATION - DISCOVERY RESOLUTION
  For Optional Um                                                                                    Pags 2 el 3
Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 34 of 43 Page ID #:48




   t*a»f ?fii£




   The following parties stipulate:

   Dale:
                                                        r

                     | TYPE OH PttWT NAME)                           "tAffoiS^Y f£m pC5w?Ff
   Date:

                 "(TYPE on PRIWT XAtj£f                              (ATTORNEY FOR 0£f£HDANT|
   Date:

                 ItfPiwpfitfjWfiag"                                  "fAITB'RNEY FOR DEFEMOAMf)
   Date:
                                                        >
                     (TYPE OH PBtMT NAME)                          ~Afli»"fS7?5Soi?SiTOiFr
   Date:
                                                        >
                     {TYPE OR PRWT NAWEi                     (AtTORNEY ron                             r
   Date:
                                                         >
                     {TYPE OR PRSMT MAMS)                    (attorney fan.                            J

   Date:

                     (TYPE OH PRINT WAME)                    <A}TO«l£Y FCW _                           J




   LACIV 038 (now)
   LASC Approved 04/11               STIPULATION - DISCOVERY RESOLUTION
   ForOpGonal tfs®                                                                                Pag# 3 of 3
Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 35 of 43 Page ID #:49




    NuaMOuMMMicrAnemtvafiMaiirtuiiiauioniMiMi




            mmoNe no.:                                FA* KO.
    E4MI MJORgSS (Opfcxu*
      ATI owgvrowtwi—):

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
    csaffln3B?xoSRE5£~             ™~           ~~~             —            —     .     ——

    PIMNTIFF:


    OEFENOMMT?


                                                                                               TiHirKSCSK*"*
            STIPULATION - EARLY ORGANIZATIONAL MEETING
L

        This stipulation Is intended to encourage cooperation among the parties at an early
                                                                                            stage in
        the litigation and to assist the parties In efficient case resolution.

        The parties agree that:


        1. The parties commit to conduct an Initial conference fin-person or via teleconference
                                                                                                or via
                videoconference) within 15 days from the dale this stipulation is signed, to discuss
                                                                                                     and consider
                whether them can be agreement on the Mowing:

                a   Are   motions to challenge    the     pleadings   necessary?       If the issue can   be   resolved by
                    amendment bs of right, or if the Court would allow leave to amend, could an
                                                                                                          amended
                    complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the
                                                                                                             parlies
                    agree to work through pleading issues so Ihet a demurrer need only raise Issues
                                                                                                       they cannot
                    resolve, is the issue fiat the defendant seeks to raise amenable to resolution on
                                                                                                      demurrer, or
                    would some other type of motion be preferable?          Could s voluntary targeted exchange of
                    documents or Information by any party cure an uncertainty in the pleadings?

            b.      Initial mutual exchanges of documents at the "core" of the litigation. (For example,
                                                                                                          in an
                    employment case, the employment records, personnel file and documents relating
                                                                                                         to the
                    conduct In question could be considered "core." in a personal injury case, an incident
                                                                                                             or
                    police report, medical records, and repair or maintenance records could be
                                                                                               considered
                    "core.");

            c.      Exchange of names and contact information of witnesses;

            d. Any insurance agreement that may be available to satisfy part or ail of a judgment,
                                                                                                   or to
               indemnify or reimburse for payments made to satisfy a judgment;

            e.      Exchange of any other Information that might be helpful to facilitate understanding,
                                                                                                          handling,
                    or resolution of the case In a manner that preserves objections or privileges by agreement;

            f.      Controlling Issues of law thai, if resolved early, will promote efficiency and economy In other
                    phases of the case. Also, when and how such Issues can be presented to the Court:

            g. Whether or when the case should be scheduled with a settlement officer, what discovery
                                                                                                      or
                    court ruing on legal Issues Is reasonably required to make settlement discussions
                                                                                                      meaningful,
                    and whether the parties wish to use a sitting judge or a private mediator or other options
                                                                                                               as
       LACfV 229 (Rav 02/15)
       LASC Approved 04/11       STIPULATION - EARLY ORGANIZATIONAL MEETING
       For Options! Uss                                                                                           Pap 1 of 2
Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 36 of 43 Page ID #:50




    mma tstuu




                discussed In the *Alternative Dispute Resolution (ADR) Information Package* served with the
                complaint;

           h.   Computation of damages, Including documents, not privileged or protected from disclosure, on
                which such computation is based;

           I.   Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                mmmJacourl om under "CiviT and then under "Genera/ information"),

   2.           The time for a defending party to respond to a complaint or cross-complaint w9 be extended
                to                         for the complaint, and                            for the crass-
                         (W5EHT DATE}                                         (JK5EHT0ATE)
                complaint, which Is comprised of the 30 days to respond under Government Code § 88816(b),
                and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                been found by the Civil Supervising Judge due to the case management benefits provided by
                Ibis Stipulation. A copy of the General Order can be found at www.iacom1.av under "C/vtT,
                click on "Genera/ information", then click on 'Vokmtary Efficient Litigation Stipulations".

   3.           The parties will prepare a Joint report titled "Joint Status Report Pursuant to Initial Conference
                and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                results of their meet and confer and advising the Court of any way It may assist the parties'
                efficient conduct or resolution of the case The parties shell attach the Joint Status Report to
                the Case Management Conference statement, and file the documents when the CMC
                statement is due.

   4.           References to "days" mean calendar days, unless otherwise noted. If the date for performing
                any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then Ihe time
                for performing that act shall be extended to the next Court day

   The foltowfng parties stipulate:

   Date:

                                                                  >
                  (TYPE OR PRIMT NAME)                                         (ATTORNEY FOR PLAMTtFF)
   Date;

                                                                  >

                  (TYPE OR PRIMT NAME)                                        (ATTORNEY FOR DEFENDANT)
   Dale:

                                                                  >
                  (TYPE OR PFUNT NAME)                                        (ATTORNEY FOR DEFENDANT)
   Date:
                                                                  >

                  (TYPE OR PRiNT NAME)                                        (ATTORNEY FOR DEFENDANT)
   Date:

                                                                  >

                  (TYPE OR PRINT NAME)                                  (ATTORNEY FOR                          J
   Date:
                                                                  >

                  (TYPE OR PRINT NAME)                                  (ATTORNEY FOR                           j
   Date

                                                                  >

                  (TYPE OR PRINT NAME)                                  (ATTORNEY FOR


  IACIV as (Rbv 02/15)
  UtSCAjlWWlrt 04/11         STIPULATION - EARLY ORGANIZATIONAL MEETING
                                                                                                          Page 2 of 2
Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 37 of 43 Page ID #:51




                *nt»iyiW?,s«fYw?i«ius arsoswctr                  8U*taA£t*wusS05                               tes 0,oa, a I ftffl S&aojJ




          TetEP«ws no.-                             PlWNO tOpSwiaS)'.
 E-MAH.MM»1ESS tOpftNttl);
—anasna5i»!«ii
SUPERIOR COURT OF CAi IFORN1A, COUNTY OF LOS ANGELES
ioufl rnoosFAoo*6sSl         1                           "   1

PuwfiRT


DEFENDANT.


                                                                                               CASS ItBSa.
                    INFORMAL DISCOVERY CONFERENCE
             Cpwsuanl to the Discovery Resolution Stipulation of ttis parties!

     1.   This document relates to;
                         Request for Informal Discovery Conference
               B         Answer to Request for Informal Discovery Conference
     2.   Deadline for Court to decide on Request;                                   (tnssri date 18 oitflto slays foltw4ng ring of
          the Roquost)

     3.   Deadline for Court to hold Informal Discovery Conference:                                        {fasart date 20 tafswdar
          d»yi feOowmg fang of !be Ract«e»IJ.

     4.   For a Request for Informal Discovery Conference, briefly describe the nature of the
          discovery dispute, Including the facts and legal arguments af issue. For an Answer to
          Request for informal Discovery Conference, briefly describe why the Court should deny
          the requested discovery, including the facts and legal arguments at Issue.




    LAOV QSt (now)
    LASC Approved 04/J 1
                                          INFORMAL DISCOVERY CONFERENCE
    ForOpttana! Use               {pursuant to the Discovery Resolution Stipulation of the parties)
Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 38 of 43 Page ID #:52




mm Am Mmu®t& &rtmmr m pm$v mnsmt atoommsi
                                                       suita^Mn                        i? mm-mS   &w£l s> IT&t




           TCIEPHW6 HO.:                    fa* no (opum/).



I SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 ^c^KT^ER3^^^^2^r~—       ^   1——
PLMNnFF;


reFtwBfT

                                                                               TSSTiiSiiK"
            STIPULATION AND ORDER - MOTIONS IN LIMINE



    This stipulation Is intended to provide fast and informal resolution of evidentiary
    issues through diligent efforts to define and discuss such issues and limit paperwork.



    The parties agree that".

    1. At least ___ days before the final status conference, each party will provide all other
           parties with a list containing a one paragraph explanation of each proposed motion In
           limine. Each one paragraph explanation must identify the substance of a single proposed
           motion In limine and the grounds for the proposed motion.

    2. The parties thereafter will meet and confer, either in person or via teleconference
                                                                                           or
        videoconference, concerning all proposed motions in limine. In that meet and confer, fha
        parties win determine:

        a. Whether the parties can stipulate to any of the proposed motions. If the parties so
           stipulate, they may file a stipulation and proposed order with the Court.

        b. Whether any of the proposed motions can be briefed and submitted by means of a
           short joint statement of issues. For each motion which can be addressed by a short
           joint statement of issues, a short joint statement of issues must be filed with the Court
              10 days prior to the final status conference.       Each side's portion of the short joint
              statement of issues may not exceed three pages. The parties will meet and confer to
              agree on a date and manner for exchanging the parties* respective portions of the
              short Joint statement of issues and the process for filing the short joint statement of
              issues.

    3. All proposed motions In limine that are not either the subject of a stipulation or briefed via
       a short joint statement of issues will be briefed and filed in accordance with the California
        Rules of Court and the Los Angeles Superior Court Rules.




   LAOVQ75 (rttw)
   W5C Appmmi 04/1 1         STIPULATION AND ORDER - MOTIONS IN LIMINE
   For Optonil Uu
                                                                                                          Page 1 ol 2
Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 39 of 43 Page ID #:53




    SKjfcsu en&g
                                                                     WICWOtA




    The following parties stipulate:

    Date:


                   {TYPE OR PRINT NAME)                       {ATTORNEY FOR PLAINTIFF}
    Dale:
                                                     >
                   (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
    Date:
                                                     >
                   (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
    Dote.
                                                     V

                   {TYPE OR PRINT MAMS)                      {AT TORNEY FOR DEFENDANT)

   Date:
                                                     >
                   (TYPE OR PRINT NAME)                  (ATTORNEY FOR                       J
   Dale:
                                                     >
                   (TYPE OR PRINT NAME)                  (ATTORNEY FOR                       j
   Date:
                                                     >
                   '{TYPE OR PRINT NAME)                 (ATTORNEY FOR                       J



   TOE COURT SO ORDERS.

     Dale:
                                                                  JUDICIAL OFFICER




   LACIV 075 (new)"
   LASC Approved IMA I       STIPULATION AMD ORDER - MOTIONS IN LIMINE
                                                                                     PmjQ 7 of 2




                                                                                         \
           Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 40 of 43 Page ID #:54

  Ml         &
  I]        Wkl
                       Superior Court of California, County of Los Angeles
             w,




                                            INFORMATION PACKAGE
                                                                                         /•                             ,,


 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH                                                IE COMPLAINT.
                                                                                                              -
                                                                                                                  .


                                                                                     .




 CROSS-COMPLAINANTS must serve this ADR Information Pad                                   iy new              ed to the action
 with the cross-complaint.
                                                                                                          :
                                                                                                        _




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.


Advantages of ADR
   •       Saves Time: ADR is faster than going to trial.

   •       Saves Money: Parties can save on court costs, attorney's fees, and witness fees.

   •       Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
       •   Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR

   •       Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.

   •       No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.


Main Types of ADR:

   1.      Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
           settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.


   2.      Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
           strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
           acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.


                   Mediation may be appropriate when the parties
                       •   want to work out a solution but need help from a neutral person.
                       •   have communication problems or strong emotions that interfere with resolution.
                   Mediation may not be appropriate when the parties
                       •   want a public trial and want a judge or jury to decide the outcome.
                       •   lack equal bargaining power or have a history of physical/emotional abuse.




   LASC CIV 271 Rev. 01/20
   For Mandatory Use                                                                                                             1
         Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 41 of 43 Page ID #:55

                                                 How to arrange           on in Los Angeles County
                                                                                                                                   ;;
                                                                                                                                    *
    Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:


             a.     The Civil Mediation Vendor Resource List
                    If all parties agree to mediation, they may contact these organizations to request a "Resouri
                    Mediation" for mediation at reduced cost or no cost (for selected cases):                                  :




                                                                                  ' \

                    •   ADR Services, Inc. Case Manag                         frservices.com (310) 201-0010 (Ext. 261)


                    •   Mediation Center of Los Angeles (MCLA) Program Manager infofc>ir.edi5tionLA.org (8 3
                                                                                                                                        .> '
                           o   Only MCLA provides mediation in person, by phone and by videoconference.
                                                                                                                                    :
                                    '                .                                             ;   . -


            These organizations cannot accept every case and they may decline cases at their discretion.
                                                                                                                                          - .




               Visit www.lactiurt.org/AOR Rgs.List for important information and FAQs before contacting them.
                    NOTE: This program does not accept family law, probate, or small claims cases.
                                                                                               "H
            b.      Los Angeles County Dispute Resolution Programs                  '


                                                                                                                                                '
                    littps://wdacs.ladoantVigo.v/programs/drp/                                               .




                        •   Small claims, unlawful detainers (evictions) arid, at 1
                            ;           o   Free, day- of- trial mediations at the courthouse. No a
                                    o       Free or low-cost mediations before the day of trial,                  :     V'
                                                                                                                  ' :
                                                                                                                                          7
                                    o       For free or low-cost Online Dispute Resolution (ODR) I                       ter
                                            day of trial visit

                                :           httP://.Www.lacourt.or6/dlvision/smallclalms               eDispute
                                            EngSpan.pdf           -            >. -

            c.    Mediators and ADR and Bar organizations that provide mediation may be found on the internet.




    3.   Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
         person who decides the outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to
         trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
         information about arbitration, visit http://www.courts.ca.gov/programs-adr.htm


    4.   Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
         date or on the day of trial. The parties and their attorneys meet with a judge or settlement officer who does not
         make a decision but assists the parties in evaluating the strengths and weaknesses of the case and in negotiating
         a settlement. For information about the Court's MSC programs for civil cases, visit
         http://www.lacourt.org/division/civil/CI0047.aspx



Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/CI0109.aspx
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




LASC CIV 271 Rev. 01/20
For Mandatory Use




                                                                                                                                                    2
 Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 42 of 43 Page ID #:56




 1   Jihad M. Smaili, Esq. [262219]
     SMAILI & ASSOCIATES, PC
 2   Civic Center Plaza Towers
 3   600 W. Santa Ana Blvd., Suite 202
     Santa Ana, California 92701
 4   714-547-4700
     714-547-4710 (facsimile)
 5   jihad@smaililaw.com
 6
     Attorneys for Plaintiff
 7
 8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                                 FOR THE COUNTY OF LOS ANGELES
10
     STEPHEN HERNAEZ, an individual;              )    Case No.: 20STCV31672
11                                                )    Assigned for all purposes to the
                    Plaintiff,                    )    Hon. Susan Bryant Deason
12
                                                  )    Dept. 52
13          v.                                    )
                                                  )
14                                                )    NOTICE OF CASE MANAGEMENT
     AMSPEC, LLC, a corporate entity form         )    CONFERENCE
15   unknown; and DOES 1-50, inclusive,           )
16                                                )    Hearing:
                    Defendants.                   )    Date: February 3, 2021
17                                                )    Time: 8:30 AM
18                                                )    Dept.: 52
                                                  )
19                                                )
                                                  )
20                                                )    Complaint Filed:
                                                  )    Trial Date:               None Set
21
22
     TO ALL PARTIES AND COUNSEL OF RECORD:
23
            PLEASE TAKE NOTICE There is a Case Management Conference scheduled
24
     on February 3, 2021, at 8:30 a.m. in Department 52 of the above captioned court located
25
     at 111 North Hill Street, Los Angeles, CA 90012.
26
     ///
27
     ///
28
     ///


                                                   1
                                  NOTICE OF CASE MANAGEMENT CONFERENCE
 Case 8:21-cv-00423 Document 1-3 Filed 03/05/21 Page 43 of 43 Page ID #:57




 1   Dated: January 19, 2021                 SMAILI & ASSOCIATES, P.C.
 2
 3                                           By: _______________________________
 4                                                Jihad M. Smaili, Esq.
                                                 Zien Halwani, Esq.
 5                                               Attorneys for Plaintiff
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                2
                               NOTICE OF CASE MANAGEMENT CONFERENCE
